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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

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In re:
Case No. 11-33055-AJC
HECHAVARRIA, ADONIS,
Chapter 7
Debtor.
/

 

TRUSTEE DILLWORTH’S MOTION TO APPROVE
STIPULATION FOR PURCHASE OF NON-EXEMPT ASSETS BY DEBTOR

 

Any interested party who fails to file and serve a written response to this Motion within
21 days after the date of service stated in this Motion shall, pursuant to Local Rule 9013-
1(D), be deemed to have consented to the entry of an Order in the form attached to this
Motion. Any scheduled hearing may then be canceled.

 

 

 

DREW M. DILLWORTH (“Trustee Dillworth”), the duly appointed, qualified, and acting
Chapter 7 Trustee for the above-styled bankruptcy estate of Adonis Hechavarria (“Debtor”),
pursuant to 11 U.S.C. § 105, Rule 9019 of the Federal Rules of Bankruptcy Procedure, and Local
Rule 9013-1 of the Local Rules of the United States Bankruptcy Court for the Southern District of
Florida, respectfully requests the Court to enter an order approving the stipulation for the Debtor’s
purchase of non-exempt assets from the estate.

l. The Debtor filed this bankruptcy case on August 18, 2010.

2. The non-exempt assets in this case were the Debtor’s ownership interest in the 2006
Ford Escape and interest in the 2011 Tax Refund (the “Vehicle” and the “Refund”).

3. The Debtor agreed to pay Trustee Dillworth, for the benefit of creditors, the sum of
$4.000 for the non-exempt interest in the Vehicle and the 2011 Tax Refund upon receipt as outlined

in the attached settlement confirmation of counsel.
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4. Trustee Dillworth believes that the proposed settlement is fair and reasonable and int
the best interests of creditors and parties in interest. The law generally favors compromise of
disputes over litigation for litigation sake. See In re Bicoastal Corp., 164 B.R. 1009, 1016 (Bankr.
M.D. Fla. 1993). Moreover, the settlement of time-consuming and burdensome litigation is
encouraged, especially in bankruptcy cases. Protective Committee for Independent Stockholders of
TMT Trailer Ferry, Inc. V. Anderson, 390 U.S. 414, 88 S.Ct. 1157, 20 L.Ed.2d 1(1968); /n re Penn
Central Transportation Co., 596 F.2d 1102 (3d Cir. 1979). The bankruptcy court has broad
discretion to approve a compromise, and settlements or compromises should be approved unless they
“fall below the lowest point in the range of reasonableness.” Jn re Bicoastal Corp., 164 B.R. at
1016; see also Inre Arrow Air, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla. 1988).

5. Trustee Dillworth respectfully submits that the proposed settlement is fair and

reasonable, represents a benefit to the Debtor’s estate and creditors, and reflects prudent judgment.

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WHEREFORE, Trustee Dillworth respectfully requests this Court to enter an Order
(a) granting this Motion; (b) approving the settlement outlined herein; (c) authorizing and directing
the parties to execute any and all documents and perform such acts as are necessary and appropriate
to effectuate the settlement; and (d) granting such other relief as the Court may deem proper.
Respectfully submitted,

/s! Drew M. Dillworth
Drew M. Dillworth, Trustee
150 West Flagler Street
Suite 2200
Miami, FL 33130
305-789-3200
Ddillworth@stearnsweaver.com

 

CERTIFICATE OF SERVICE

I CERTIFY that on October 18, 2011, I electronically filed the foregoing document with the
Clerk of the Court using CM/ECF, and the foregoing document is being served this day by
(i) transmission of Notices of Electronic Filing generated by CM/ECF to those parties registered to
receive electronic notices of filing in this case and (ii) by U.S. Mail to those parties as indicated on
the attached service list.

/s/ Drew M. Dillworth
Drew M. Dillworth, Trustee
150 West Flagler Street
Suite 2200
Miami, FL 33130
305-789-3200
Ddillworth@stearnsweaver.com

137836.1 Page 3 of 3
Label Matrix for local noticing
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Case 11-33055-AgC

Southern District of Plorida
Kiani

Tue Oct 18 11:21:15 BDT 2011

Bank of America
FOB 941633
Sind Valley, CA 93094-1633

Office of the US Trustee
51 S.W. ist Ave.

Suite 1204

Miami, FL 33130-1614

Robert Sanchez Esq.
900 W 49 St 3500
Hialeah, FL 33012-3488

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Bank of America, NA.
P.O. Box 25018
Tampa, PL 33622-5018

GSP Investment Company
8319 Grand Canal Drive
Miami, FL 33144-3539

Adonis Hechavarria
551 NW 60 Avenue
Miami, PL 33126-3145

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AGT
P.O, BOX 15922
Columbus, OH 43215-0922

Miami Dade County Tax Collectors
140 West Flagler Street

14th Floor

Miami, FL 33130-1519

Drew ¥ Dillworth
2200 Museus Tower
150 West Flagler St
Miami, PL 33130-1536

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u) Miami

End of Label Matrix

Mailable recipients 9
Bypassed recipients 1
Total 10
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EXHIBIT

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

www.flsb.uscourts.gov

Inre: Case No.: H} , SB05S - AF?

Chapter 7
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Adoni j HN ecrtpuanpit

Debtor(s).
/

STIPULATION FOR THE PURCHASE

OF THE DEBTOR(S) NON-EXEMPT ASSET(S)

Drew M. Diilworth, Trustee and Abu ‘Ss J SCH Ava nAt
(“Debtor(s)”) hereby stipulate to the Purchase of the Non-Exempt Asset(s) disclosed in the
bankruptcy schedules on this case and more specifically identified below as follows:

1, On Au Gus LW , 2011, Debtor(s) filed a voluntary petition for
relief under Chapter 7 of the United States Bankruptcy Code. Thereafter, Trustee Dillworth was
appointed as the Chapter 7 Trustee.

2. Trustee Dillworth and Debtor(s) enter into this agreement for the purchase of the

estate’s right, title, and interest in the Debtor(s) non-exempt interest in the following property:

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all being referred to below as the “Non-Exempt Asset(s)”.
3. As consideration for the Non-Exempt Asst(s), the Debtor(s) agree(s) to pay to Trustee
Dillworth, in the form of a money order or a cashicr’s check made payable to “Drew M.

Dillworth, Trustee, for the benefit of the Estate” the total sum of # G owe)
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as follows:
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4. In the event of a default, Trustee Dillworth will notify counsel to Debtor(s) of said
default by facsimile transmission, U.S. Mail or Electronic Mail. If said default is not cured
within ten (10) days of the notice of default, Trustee Dillworth may proceed as set forth in
Paragraph 5 of this Stipulation.

5. In the event the Debtors fail to make the aforesaid payments on a timely basis,
Trustee Dillworth shall be entitled to a revocation of Debtor(s) discharge by contested motion
pursuant to Rule 9024, Fed. R. Bank. P., and Debtor(s) waive the requirement of an adversary
proceeding for such matter.

6. This Stipulation represents the entire understanding and agreement between the
parties hereto with respect to the subject matter hereof and cannot be amended, modified or
supplemented except by an instrument in writing signed by the party or parties against whom
enforcement of any amendment, supplement or modification is sought. A waiver by a party of
any breach of any provision of this Stipulation shall not be construed to be a waiver by any such

party of any succeeding breach of such provision or a waiver by such party of f breach of any

 

   

a

other provision. i |

  
 

 

Florida Bar No. 0167835
Museum Tower, Suite 2200 /

150 West Flagler Street ebtor
Miami, Florida 33130
Telephone: (305) 789-3598

Facsimile: (305) 789-3395 Attomey for Debtor(s)

Drew M. Dillworth, Bankruptcy Trustee {

 
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EXHIBIT

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

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In re: Case No.: 11-33055-BKC-AJC
HECHAVARRIA, ADONIS, Chapter 7

Debtor.
/

ORDER APPROVING STIPULATION FOR THE
PURCHASE OF THE DEBTOR’S NON-EXEMPT ASSET(S)

THIS CAUSE came before the Court on Drew M. Dillworth, Trustee's Motion (ECF ___)
to Approve Stipulation for the Purchase of the Debtors Non-Exempt Assets (the “Motion”) and the
Trustee Dillworth’s Certificate of No Response to the Motion. The Court having reviewed the
Motion, finding that the Stipulation for the purchase of the debtors non-exempt asset is sufficient
to comply with Bankruptcy Rules 9019 and 2002(a)(3), Local Rule 9013-1(D), and any other
applicable notice requirement, does -

ORDER and ADJUDGE that the Motion is Granted and the Stipulation attached to the
Motion is approved in all respects.

HHH

Submitted by/Copy to:
Drew M. Dillworth, Trustee

(Trustee Dillworth shall serve copies of this order on all interested parties and file a certificate of service.)

@PF Desktop\::ODMA/MHODMA/DMS: ACTIVE; 1270946; 1
